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8                                 UNITED STATES DISTRICT COURT

9                                 EASTERN DISTRICT OF CALIFORNIA

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11 UNITED STATES OF AMERICA,                       CASE NO. 2:20-CR-00011-JAM
12                                  Plaintiff,     STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; FINDINGS AND ORDER
14 JONATHAN NOEL BELTRAN-OCHOA,                    DATE: March 17, 2020
   BRYAN SAHID FAVELA,                             TIME: 9:15 a.m.
15 ANGEL GIOVANI BELTRAN, AND                      COURT: Hon. John A. Mendez
   ISAIAH MEZA,
16
                       Defendants.
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18
                                              STIPULATION
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           1.      By previous order, this matter was set for status on March 17, 2020.
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           2.      By this stipulation, defendants now move to continue the status conference
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     until May 12, 2020 at 9:15 a.m., and to exclude time between March 17, 2020, and May
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     12, 2020, under Local Code T4.
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           3.      The parties agree and stipulate, and request that the Court find the
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     following:
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                   a)     The government has represented that the discovery associated with
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           this case includes investigative reports, photographs, and audio recordings. All of
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           this discovery has been either produced directly to counsel and/or made available
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           for inspection and copying.

      STIPULATION REGARDING EXCLUDABLE TIME         1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                b)     Counsel for the defendants desire additional time to consult with their

 2        clients, review the charges and discovery, conduct defense investigation, and

 3        otherwise prepare for trial.

 4                c)     Counsel for the defendants believe that failure to grant the above-

 5        requested continuance would deny them the reasonable time necessary for effective

 6        preparation, taking into account the exercise of due diligence.

 7                d)     The government does not object to the continuance.

 8                e)     Based on the above-stated findings, the ends of justice served by

 9        continuing the case as requested outweigh the interest of the public and the

10        defendant in a trial within the original date prescribed by the Speedy Trial Act.

11                f)     For the purpose of computing time under the Speedy Trial Act, 18

12        U.S.C. § 3161, et seq., within which trial must commence, the time period of March

13        17, 2020 to May 12, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§

14        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted

15        by the Court at defendant’s request on the basis of the Court’s finding that the ends

16        of justice served by taking such action outweigh the best interest of the public and

17        the defendant in a speedy trial.

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28        4.      Nothing in this stipulation and order shall preclude a finding that other

     STIPULATION REGARDING EXCLUDABLE TIME        2
     PERIODS UNDER SPEEDY TRIAL ACT
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1 provisions of the Speedy Trial Act dictate that additional time periods are excludable from

2 the period within which a trial must commence.

3         IT IS SO STIPULATED.

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     Dated: March 13, 2020                         MCGREGOR W. SCOTT
6                                                  United States Attorney
7
                                                   /s/ JUSTIN L. LEE
8                                                  JUSTIN L. LEE
                                                   Assistant United States Attorney
9

10
     Dated: March 13, 2020                         /s/ MICHAEL D. LONG
11                                                 MICHAEL D. LONG
                                                   Counsel for Defendant
12                                                 ISAIAH MEZA
     Dated: March 13, 2020                         /s/ KYLE R. KNAPP
13                                                 KYLE R.KNAPP
                                                   Counsel for Defendant
14                                                 ANGEL BELTRAN
     Dated: March 13, 2020                         /s/ ETAN ZAITSU
15                                                 ETAN ZAITSU
                                                   Counsel for Defendant
16                                                 BRYAN SAHID FAVELA
     Dated: March 13, 2020                         /s/ CLEMENTE JIMENEZ
17                                                 CLEMENTE JIMENEZ
                                                   Counsel for Defendant
18                                                 JONATHAN BELTRAN-OCHOA
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20                                    FINDINGS AND ORDER
21        IT IS SO FOUND AND ORDERED this 13th day of March, 2020.
22
                                                  /s/ John A. Mendez
23                                           THE HONORABLE JOHN A. MENDEZ
                                             UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME     3
     PERIODS UNDER SPEEDY TRIAL ACT
